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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOANNE JAFFE,

                      Plaintiff,                19 Civ. 7024 (LAP)

-against-
                                                       ORDER
CITY OF NEW YORK et al.,

                      Defendants.



LORETTA A. PRESKA, Senior United States District Judge:

    Counsel for the parties shall appear for a teleconference

on February 17, 2021 at 11:00 a.m. to address the discovery

issues raised in their letters of February 8, 2021 (dkt. nos.

43, 44).

    The dial-in information for the teleconference is (877)

402-9753, access code: 6545179.

    SO ORDERED.

Dated:      New York, New York
            February 10, 2021

                              __________________________________
                              LORETTA A. PRESKA
                              Senior United States District Judge




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